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   IT IS ORDERED as set forth below:



   Date: December 15, 2017                                _________________________________

                                                                    Mary Grace Diehl
                                                              U.S. Bankruptcy Court Judge

   ______________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION



IN RE:                          )     CHAPTER 11
                                )
DAVID AND VERDA DICORTE         )    CASE NO. 16-60447-MGD
REVOCABLE TRUST                 )
                                )
     Debtor.                    )
======================================================================


                                ORDER GRANTING
                     DEBTOR’S APPLICATION FOR FINAL DECREE


         Before the Court is Debtor’s Application for Final decree filed September 21, 2017 (Doc.

No. 66) (the “Application”).

         It appears the Application has been properly served and no party in interest has filed an

objection. Debtor has filed its monthly and quarterly operating reports, is paying all creditors in

accordance with the confirmed plan of reorganization, and is current with its quarterly payments to

the US Trustee. Debtor has filed its Final Administrative Report in accordance with BLR 3022-1,

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 and the court has approved Debtor’s counsel attorneys fees in its Order dated November 29, 2917

 (Doc. No. 70). No issues of jurisdiction have been raised, the relief requested is appropriate, and

 the United States Trustee has indicated his consent the Application and to this Order. Accordingly,

 it is

         ORDERED that:

         (1)   Debtor’s Application is GRANTED; and

         (2)   The provisions of Debtor’s Plan are and continue to be binding on Debtor, its

               creditors and equity security holders, and any other parties in interest, whether or not

               such claim or interest was impaired by the Plan and whether or not such creditors or

               equity holders or partied in interest accepted the Plan; and

         (3)   The Court shall retain jurisdiction to enter a discharge Order and reopen the case for

               that limited purpose without Debtor’s paying a fee to reopen the case solely for the

               purpose of entry of a discharge Order upon completion of all Plan payments.

         (4)   Debtor’s above styled case is hereby CLOSED.

         (5)   Debtor’s counsel shall serve a copy of this Order on (a) the Office of the United States

               Trustee; (b) all secured and unsecured creditors in the case and their counsel; and (c)

               any other parties or entities requesting service.

[END OF ORDER]


Draft prepared and submitted by:                       Not opposed by:

Debtor in Possession, by
SLIPAKOFF & SLOMKA, PC                                 By:____/s____________________________
                                                       With Express Consent
By: /s/ ________________________
                                                       Lindsay P. S. Kolba
Howard P. Slomka, Esquire
                                                       GA Bar 541621
Georgia Bar No. 652875
                                                       Office of the U.S. Trustee
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 931 Monroe Drive                                c/o WMD Asset Management LLC               Stites & Harbison, PLLC
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